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                                                                      August 30, 2022
Via ECF

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

                     Re:           Network Data Rooms, LLC v. Saulrealism LLC and Ryan Saul
                                   Docket No. 22-cv-02299-LGS
                                   Additional NDR Azure DevOps Source Code Repositories
                                   and Discovery Request

Your Honor:

          Please be reminded that Goldberger & Dubin, P.C., represents the Defendants in this

action, Saulrealism LLC, and Ryan Saul. The Court Ordered that counsel meet and confer and file

a joint letter regarding outstanding discovery issues that should be raised prior to the evidentiary

hearing scheduled on September 20, 2022. Plaintiff has already filed a letter without conferring

[DKT No 88]. Defendants file this letter requesting additional discovery that is reasonably required

prior to the evidentiary hearing.

          On Friday, August 26, 2022, Plaintiff produced emails from David Delorge from January

14, 2022 through present as ordered. These emails revealed that there are multiple NDR DealTable

Azure DevOps projects and/or repositories. Expert Terry Patterson reviewed the NDR-2021 source

repository to produce his reports. Terry Patterson Expert Report pg. 8 [DKT 49] (“There is a

master repository and 13 branches in the NDR-2021 source repository.”).

          The appended emails show that there are additional repositories named “DealTable 2022
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GITHUB SourceCode” and “Dealtable Old Development.” This demonstrates that the Plaintiff has

multiple repositories, and repositories can easily be renamed.

      Additionally, undersigned counsel has carefully reviewed the first batch of email

productions from David Delorge. There were no emails produced that are similar to the appended

emails regarding the creation or renaming of any projects. This would suggest that the quantity of

repositories was intentionally withheld.

       It is my understanding that the independent expert’s reports are based upon a single

repository and thus the contents of these reports are unreliable. Plaintiff has denied the Defendants

access to its Azure DevOps system. Counsel is requesting that the Court Order Plaintiff to confirm

the names of all Azure DevOps repositories and/or projects it has used from December 2020

through present and (2) confirm which repositories expert Terry Patterson had access to when

preparing his reports.

                                                              Respectfully submitted,

                                                                 S/

                                                                 Renee Wong, Esq.
                                                                 On behalf of Defendants
                                                                 Goldberger & Dubin, P.C.
                                                                 Of Counsel
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